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                         UN ITED STA TES D ISTRICT COU RT FO R THE
                              SOU THERN D ISTRICT O F FLO RIDA
                                         M iam iD ivision
                  C ase N um ber: I7-ZII86-C IV-M A R TIN EZ-O TA ZO -M Y ES

  SA HILY BUN T,
        Plaintiff,



  CO N TRA CT CA LLERS,IN C .,
         Defendant.


                        O RDER ON NOTICE OF SETTLEM ENT AND
                       DENYING ALL PENDING M OTIONS AS M OO T
         THISCAUSE camebeforetheCourtupontheparties'NoticeofSettlement(ECFNo.291,
  indicating thatthe parties have reached a settlem entin this m atter. ltishereby:
         O R DER ED A ND A DJUD G ED asfollow s:
                ThepartiesshalltileeitheraNoticeofDismissal(iftheDefendanthasnotserved
  ananswerormotionforsummaryjudgment)oraStipulationofDismissal(signedbyallparties
  whohaveappearedinthisaction),which mustbefiledwiththeClerk oftheCourt,aproposed
  OrderofDism issalorFinalJudgm ent,and any otherdocum entsnecessary to conclude thisaction
  on or before A pril30.2018.
                lfthepartiesfailto com ply w ith thisorder,theCoul'tshalldism issthiscase without

  prejudicewithoutany furtherwarning.
                The Clerk isD IRE CTED to D EN Y A LL PEND IN G M O TIO N S A S M O O T.
                The Clerk shallA DM IN ISTR ATIVELY CL O SE thiscaseforstatisticalpurposes
  only. This shallnotaffectthe substantive rights ofthe parties.
         DONEAND ORDERED inChambersatMiami,Florida,thisR YdayofFebruary,2018.


                                                      JOS .M A RTIN Z
                                                      UN 1 D STATES D ISTRICT JU DG E
  Copiesprovided to:
  M agistrate Judge O tazo-Reyes
  A 11CounselofRecord
